Case 2:22-cr-20433-GAD-KGA ECF No. 1, PagelD.1 Filed 08/24/22 Page 1 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

inti Case:2:22-cr-20433
Plaintitt Judge: Drain, Gershwin A.
MJ: Altman, Kimberly G.
“VS- Filed: 08-24-2022 At 03:01 PM
USA V SEALED MATTER (LG)

D-1 DOUGLAS HEARD,

Defendant.

INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE

(21 U.S.C. § 841(a)(1) — Possession of Methamphetamine with Intent to
Distribute)
D-1 DOUGLAS HEARD
On or about January 11,2022, in the Eastern District of Michigan,
the defendant, Douglas Heard, did knowingly and intentionally possess
with intent to distribute a controlled substance, specifically, 50 grams

or more of a mixture and substance containing a detectable amount of

methamphetamine, its salts, isomers, and salts of its isomers, in

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violation of Title 21, United States Code, Section 841(a)(1) and

841(b)(1)(B)(viii).

COUNT TWO
(21 U.S.C. § 841(a)(1) — Possession of Fentanyl with Intent to Distribute)

D-1 DOUGLAS HEARD

On or about January 11, 2022, in the Eastern District of Michigan,
and elsewhere, the defendant, Douglas Heard, did knowingly and
intentionally possess with intent to distribute a controlled substance,
specifically, 40 grams or more of a mixture and substance containing a
detectable amount of N-phenyl-N-[1-(2-phenylethy])-4-piperidiny]]
propanimede, commonly known as fentanyl, in violation of Title 21,

United States Code, Section 841(a)(1) and (b)(1)(B)(vi).

COUNT THREE

(21 U.S.C. § 856(a)(1)-Maintaining a Drug Premises)
D-1 DOUGLAS HEARD
On or about January 11, 2022, in the Eastern District of Michigan,

the defendant, Douglas Heard, did unlawfully and knowingly use and

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maintain a place located at 91 Inches St., Mount Clemens, Michigan, for
the purpose of manufacturing, distributing, and using controlled
substances, including N-pheny]-N-[1-(2-phenylethyl)-4-piperidiny]]
propanimide, commonly known as fentanyl, and methamphetamine, in
violation of Title 21, United States Code, Section 856(a)(1).

THIS IS A TRUE BILL

s/ Grand Jury Foreperson
Grand Jury Foreperson

DAWN N. ISON
United States Attorney

s/ Benjamin Coats

Benjamin Coats
Chief, Drug Task force Unit

s/ John N. O’Brien IT
John N. O’Brien II,
Assistant United States Attorney

Dated: August 24, 2022

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United States District Court Criminal Case Cover Case:2:22-cr-20433
Eastern District of Michigan Judge: Drain, Gershwin A
MJ: Altman, Kimberly G.
Filed: 08-24-2022 At 03:01 PM

NOTE: it is the responsibility of the Assistant U.S. Attorney signing this form to complete U
SA V SEALED MATTER (LG)

Companion Case Number:

Judge Assigned:

L] Yes No AUSA’s Initials: Jy

Case Title: USA v. Douglas Heard

County where offense ee a
Co

Check One: [x]Felony L_]Misdemeanor

LlPetty

V¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below]

Superseding Case Information
Judge:

Superseding to Case No:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case.

August 24, 2022
Date

States Attorney
. reet, Suite 2001
Detroit, MI 48226-3277

Phone:313-226-9715
E-Mail address: John.Obrien@usdoj.gov

Attorney Bar #: P39912

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same

or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16

